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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                          §
ERIN ENERGY CORPORATION; fdba   §                        CASE NO: 18-32106
CAMAC ENERGY INC.; fdba PACIFIC §
ASIA PETROLEUM INC., et al      §
                                §
ERIN ENERGY LTD.; fdba CAMAC    §                        CASE NO: 18-32107
ENERGY LTD.                     §
                                §
ERIN ENERGY KENYA LIMITED; fdba §                        CASE NO: 18-32108
CAMAC ENERGY KENYA LIMITED      §
                                §
ERIN PETROLEUM NIGERIA LIMITED; §                        CASE NO: 18-32109
fdba CAMAC PETROLEUM LIMITED    §
                                §                        Jointly Administered Order
       Debtor(s)                §
                                §                        CHAPTER 11

                               CASH COLLATERAL ORDER

       For the reasons set forth on the record on this date, the Court orders:

       1.     The Debtor is authorized to spend up to $620,000.00 of cash collateral.

        2.      The cash collateral may only be spent in the amounts and for the purposes set
forth on the record on this date.

        3.     Mauritius Commercial Bank Ltd, or its successor, is ordered immediately to
transfer $620,000.00 from the Debt Service Reserve Account to the Debtors. The transmission
of the funds will be to a wire address provided by Debtor’s counsel to counsel to Mauritius and
PIC.

       4.      The Court will conduct a further hearing on May 23, 2018 at 9:00 a.m. at the
United States Courthouse in Houston, Texas.

       SIGNED May 9, 2018.


                                                 ___________________________________
                                                            Marvin Isgur
                                                 UNITED STATES BANKRUPTCY JUDGE




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